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UNITED STATES BANKRUPTCY COURT

Southern District of Indiana

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Debtor(s) (XX-XXXXX)

CHAPT 13 PLAN
riginal
Amended Plan # (eg. 1%, 2™)
** MUST BE DESIGNATED **

 

1. NOTICE TO INTERESTED PARTIES:

The Debtor must check one box on each line to state whether or not the plan includes each of the
following items. If an item is checked as "Not Include", if neither box is checked, or if both boxes
are checked, the provision will be ineffective if set out later in the plan.

1.1 A limit on the amount of a secured claim, pursuant to
paragraph 8.(b), which may result in a partial payment or no
payment at all to the secured creditor.

CJ Included [Not Included

1.2 Avoidance of a judicial lien or nonpossessory, non-purchase
money security interest. Any lien avoidance shall occur by separate (_] Included [Not Included
motion or proceeding, pursuant to paragraph 12.

1.3 Nonstandard provisions, set out in paragraph 15. [_] Included CYNot Included
2. GENERAL PROVISIONS:

(a) YOUR RIGHTS MAY BE AFFECTED. Read these papers carefully and discuss them with
your attorney. If you oppose any provision of this plan, you must file a timely written objection.
This plan may be confirmed without further notice or hearing unless a written objection is filed
before the deadline stated on the separate Notice you received from the Court.

_ (b) PROOFS OF CLAIM: You must file a proof of claim to receive distributions under the plan.
Absent a Court order determining the amount of the secured claim, the filed proof of claim shall
control as to the determination of pre-petition arrearages, secured and priority tax liabilities; other
priority claims; and the amount required to satisfy an offer of payment in full. All claims that are
secured by a security interest in real estate shall comply with the requirements of Federal Rule of
Bankruptcy Procedure (“FRBP”) 3001(c)(2)(C).

(c) NOTICES RELATING TO MORTGAGES: As required by Local Rule B-3002.1-1, all
creditors with claims secured by a security interest in real estate shall comply with the requirements
of FRBP 3002.1 (b) and (c) without regard to whether the real estate is the Debtor's principal
residence, If there is a change in the mortgage servicer while the bankruptcy is pending, the
mortgage holder shall file with the Court and serve upon the Debtor, Debtor's counsel and the
Chapter 13 Trustee (“Trustee”) a Notice setting forth the change and providing the name of the new
servicer, the payment address, a contact phone number and a contact e-mail address.

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(d) NOTICES (OTHER THAN THOSE RELATING TO MORTGAGES): Non-mortgage
creditors in Section 8(c) (whose rights are not being modified) or in Section 11 (whose
executory contracts/unexpired leases are being assumed) may continue to mail customary
notices or coupons to the Debtor or the Trustee notwithstanding the automatic stay.

(e) EQUAL MONTHLY PAYMENTS: As to payments required by paragraphs 7 and 8, the
Trustee may increase the amount of any “Equal Monthly Amount” offered to appropriately
amortize the claim. The Trustee shall be permitted to accelerate payments to any class of
creditor for efficient administration of the case.

(f) PAYMENTS FOLLOWING ENTRY OF ORDERS LIFTING STAY: Upon entry of an
order lifting the stay, no distributions shall be made on any secured claim relating to the subject
collateral until such time as a timely amended deficiency claim is filed by such creditor and
deemed allowed, or the automatic stay is re-imposed by further order of the Court.

_ SUBMISSION OF INCOME: Debtor submits to the supervision and control of the Trustee all
or such portion of future earnings or other future income or specified property of the Debtor as
is necessary for the execution of this plan.

PLAN TERMS:

(a) PAYMENT AND LENGTH OF PLAN: Debtor shall pay L 26 Te a |
to the Trustee, starting not later than 30 days after the order for relief, for 60 months,

for a total amount of 1GI59 |. .
Additional payments to Trustee and/or future changes to the periodic amount proposed are:

 

BHi2.00
& 412.00

 

 

(b) INCREASED FUNDING: If additional property comes into the estate pursuant to 11 U.S.C.
§1306(a)(1) or if the Trustee discovers undisclosed property of the estate, then the Trustee may
obtain such property or its proceeds to increase the total amount to be paid under the plan.
However, if the Trustee elects to take less than 100% of the property to which the estate may be
entitled OR less than the amount necessary to pay all allowed claims in full, then a motion to
compromise and settle will be filed, and appropriate notice given.

(c) CURING DEFAULTS: If Debtor falls behind on plan payments or if changes to the payments
owed to secured lenders require additional funds from the Debtor's income, the Debtor and the
Trustee may agree that the Debtor(s) will increase the periodic payment amount or that the time
period for making payments will be extended, not to exceed 60 months. Creditors will not receive
notice of any such agreement unless the total amount that the Debtor(s) will pay to the Trustee
decreases. Any party may request in writing, addressed to the Trustee at the address shown on the
notice of the meeting of creditors, that the Trustee give that party notice of any such agreement.
Agreements under this section cannot extend the term of the plan more than 6 additional months.

(d) OTHER PLAN CHANGES: Any other modification of the plan shall be proposed by motion
pursuant to 11 U.S.C. §1329. Service of any motion to modify this plan shall be made by the
moving party as required by FRBP 2002(a)(5) and 3015(h), unless otherwise ordered by the Court.

 
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5. PAYMENT OF ADMINISTRATIVE CLAIMS (INCLUSIVE OF DEBTOR'S
ATTORNEY FEES):
CANONE

All allowed administrative claims will be paid in full by the Trustee unless the creditor
agrees otherwise.

 

Scheduled

Creditor Type of Claim Anoewt

 

 

 

 

 

 

6. PAYMENT OF DOMESTIC SUPPORT OBLIGATIONS:
(a) Ongoing Domestic Support Obligations:

[XNONE

Debtor shall make any Domestic Support Obligation payments that are due after the filing of the case
under a Domestic Support Order directly to the following payee:

 

Payment

Creditor Type of Claim Aaccuut

 

 

 

 

 

 

(b) Domestic Support Obligation Arrears:
ONE
The following arrearages on Domestic Support Obligations will be paid in the manner specified.

 

Estimated

Treatment
Arrears

Creditor Type of Claim

 

 

 

 

 

 

 

7. PAYMENT OF SECURED CLAIMS RELATING SOLELY TO THE DEBTOR'S
PRINCIPAL RESIDENCE:

O NONE

As required by Local Rule B-3015-1(d), if there is a pre-petition arrearage claim on a mortgage
secured by the Debtor's principal residence, then both the pre-petition arrearage and the post-petition
mortgage installments shall be made through the Trustee. Initial post-petition payment arrears shall be
paid with secured creditors. If there are no arrears, the Debtor may pay the secured creditor directly.
Before confirmation, the payment to the mortgage lender shall be the regular monthly mortgage
payment unless otherwise ordered by the Court or modified pursuant to an agreement with the
mortgage lender. After confirmation, payment shall be as set forth below. Equal Monthly Amount and
Estimated Arrears listed below shall be adjusted based on the filed claim and/or notice. Delinquent real
estate taxes and homeowners’ association or similar dues should be treated under this paragraph.

 

: Equal
Creditor Residential Address ei Monthly Monenge
Arrears Treatment
Amount

 

 

© Trustee pay
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Madison County reg rer 475 Vine Sy int SHO” “10.00 @ Direct pay
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No late charges, fees or other monetary amounts shall be assessed based on the

timing of any payments made by the Trustee under the provisions of the Plan, unless

allowed by Order of the Court.

 

 

 

 

 

 
8.

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PAYMENT OF SECURED CLAIMS OTHER THAN CLAIMS TREATED UNDER

 

PARAGRAPH 7:

Eee. Claims as to Which 11 U.S.C. § 506 Valuation Is Not Applicable:
N

ONE

Pursuant to Local Rule B-3015-1(c), and unless otherwise ordered by the Court, prior to plan
confirmation, as to secured claims not treated under paragraph 7 and as to which valuation under 11
U.S.C. § 506 is not applicable, the Trustee shall pay monthly adequate protection payments equal to
1% of a filed secured claim. The Trustee shall disburse such adequate protection payments to the

secured creditor as soon as practicable after receiving plan payments from the Debtor, and the

secured claim will be reduced accordingly. After confirmation of the plan, unless otherwise provided
in paragraph 15, the Trustee will pay to the holder of each allowed secured claim the filed claim
amount with interest at the rate stated below.

 

Creditor

Collateral

Purchase
Date

Estimated
Claims
Amount

Interest
Rate

Equal
Monthly
Amount

 

 

 

 

 

 

 

 

 

ie. Claims as to Which 11 U.S.C. § 506 Valuation Is Applicable:

NONE

Pursuant to Local Rule B-3015-1(c), and unless otherwise ordered by the Court, prior to plan
confirmation as to secured claims not treated under paragraph 7 but as to which § 506 valuation is
applicable, the Trustee shall pay monthly adequate protection payments equal to 1% of the value of
the collateral stated below. The Trustee shall disburse such adequate protection payments to the

secured creditor as soon as practicable after receiving plan payments from the Debtor, and the

secured claim will be reduced accordingly. After confirmation of the plan, unless otherwise provided
in paragraph 15, the Trustee will pay to the holder of each allowed secured claim in the manner set

 

forth below.
Equal
: Purchase | Scheduled Interest
Creditor Collateral Date Debt Value Rate Monthly
Amount

 

 

 

 

 

 

 

 

 

(c) Curing Defaults and/or Maintaining Payments:

[] NONE

Trustee shall pay the allowed claim for the arrearage, and Debtor shall pay regular post-petition
contract payments directly to the creditor:

 

 

 

 

. Estimated | Interest
Creditor Collateral/Type of Debt Kuni Rate
Turre WakKley 9715 Vine St Lapelinv $Rea4.c] Wo
Honda. FiMancial 2ei5 Hernda CHV SUV RAG ao“

 

 

 

 

 

(d) Surrendered/Abandoned Collateral:

[J] NONE

 
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The Debtor intends to surrender the following collateral. Upon confirmation, the Chapter 13 estate
abandons any interest in, and the automatic stay pursuant to 11 U.S.C. § 362 is terminated as to, the
listed collateral and the automatic stay pursuant to 11 U.S.C. §1301 is terminated in all respects. Any
allowed unsecured claim resulting from the disposition of the collateral will be treated in paragraph
10.(b) below. Upon confirmation, the secured creditor is free to pursue its in rem rights.

 

 

 

 

 

 

Creditor Collateral Surrendered/Abandoned Scheduled
Value
) 7 NI /A © Abandoned \
N / ms / © Surrendered V [x

 

 

9. SECURED TAX CLAIMS AND 11 U.S.C. § 507 PRIORITY CLAIMS:
[NONE
All allowed secured tax obligations shall be paid in full by the Trustee, inclusive of statutory interest

thereon (whether or not an interest factor is expressly offered by plan terms). All allowed priority
claims shall be paid in full by the Trustee, exclusive of interest, unless the creditor agrees otherwise.

 

 

 

 

 

 

 

 

 

 

; Type of Priority or Scheduled
Creditor Secured Claim Debt ian
10. NON-PRIORITY UNSECURED CLAIMS:
(a) Separately Classified or Long-term Debts:
[NONE
Creditor Basis for Classification Treatment Amount | Interest

 

 

 

 

 

 

 

 

(b) General Unsecured Claims:

© Pro rata distribution from any remaining funds; or
© Other:

 

11. EXECUTORY CONTRACTS AND UNEXPIRED LEASES:

All executory contracts and unexpired leases are REJECTED, except the following, which are
assumed. Click here to list assumed leases.

12. AVOIDANCE OF LIENS:

[NONE

Debtor will file a separate motion or adversary proceeding to avoid the following non-purchase
money security interests, judicial liens, wholly unsecured mortgages or other liens that impair

exemptions:

 

Amount to

Creditor Collateral/Property Description in Avoiied

 

 

 

 

 

 
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13. LIEN RETENTION: With respect to each allowed secured claim provided for by the plan,
the holder of such claim shall retain its lien securing such claim until the earlier of a) the
payment of the underlying debt determined under non-bankruptcy law or b) entry of a
discharge order under 11 U.S.C. §1328.

14. VESTING OF PROPERTY OF THE ESTATE: Except as necessary to fund the plan or as
expressly retained by the plan or confirmation order, the property of the estate shall revest in
the Debtor upon confirmation of the Debtor's plan, subject to the rights of the Trustee, if any,
to assert claim to any additional property of the estate acquired by the Debtor post-petition
pursuant to operation of 11 U.S.C. §1306.

15. NONSTANDARD PROVISIONS:

NONE

Under FRBP 3015(c), nonstandard provisions are required to be set forth below. Any nonstandard
provision placed elsewhere in the plan is void. These plan provisions will be effective only if the
included box in Paragraph 1.3 of this plan is checked.

 

 

 

 

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Signatute of Debtor »
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PrintetN ame of Debtor

 

Signature of Joint Debtor

 

Printed Name of Joint Debtor

 

Signature of Attorney for Debtor(s)

Address:

 

 

City, State, ZIP code:

 

Area code and phone: 4 \7/ Hoo & 2G Ge

 

Area code and fax:

 

E-mail address: Qin aumrimn3s @9Mai).cCOM

 

By filing this document, the Debtor(s), if not represented by an attorney, or the Attorney for the
Debtor(s) certify(ies) that the wording and order of the provisions in this Chapter 13 plan are identical to
those contained in the form plan adopted by this Court, other than any nonstandard provisions included
in paragraph 15.
